Case 2:03-cV-02330-SHI\/|-ch Document408 Filed 07/06/05 Page'l`ofB P<':\ge| 708

IN THE UNITED STATES DISTRICT COURT m BY°"
FOR THE WESTERN DISTRICT OF TENNESSEE

 

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LECTROLARM cUSToM ) WMM
sYSTEMs, INC., ) w GF .%: §;HMS
Plaintiff, §
v. § No. 03-2330 Ma/An
vICON INDUSTRIES, INC., et al., i
Defendants. §

 

ORDER GRANTING MOTION FOR LEAVE TO FILE REPLY

 

Before the Court is Bosch Security Systems, Inc.’s Motion for Leave to File a Surreply to
Lectrolarm’s Consolidated Reply filed on June 24, 2005. For good cause shown, the motion is

GRANTED. Bosch shall file its Surreply with the Court Within 10 days of entry of this Order.

g./?Z;mm @;¢..J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: Qu.a` ar w
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IT IS SO ORDERED.

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